
In re St. John, Anthony G.;—Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Rapides, 9th Judicial District Court Div. B, Nos. 269325, 269452; to the Court of Appeal, Third Circuit, No. KH 05-00428.
Writ granted in part; otherwise denied. If it has not done so already, the district court is ordered to supply relator with a copy of his guilty plea colloquy transcript. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. In all other respects, the application is denied. State ex rel. Bernard v. Cr.D.C., 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
